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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                 §
Plaintiff,                               §
                                         §
V.                                       § CRIMINAL NO: ​1:21-CR-00054-TSC
                                         §
                                         §
MATTHEW CARL MAZZOCCO                    §
Defendant.                               §

                          NOTICE OF APPEARANCE

TO THE HONORABLE UNITED STATES JUDGE FOR THE DISTRICT OF
COLUMBIA:

      Please enter my appearance as Counsel in said case for Defendant, MATTHEW

CARL MAZZOCCO.

      I certify that I have been admitted to practice Pro Hac Vice in the District of

Columbia for the abovementioned cause. My admission to appear Pro Hac Vice for

Defendant, MATTHEW CARL MAZZOCCO was granted on February 10, 2021.

SIGNED this the 18​TH​ day of FEBRUARY 2021.
                                         Respectfully submitted


                                         ROBBIE WARD
                                         SBN: 24033435
                                         530 Lexington Ave
                                         San Antonio, Texas 78215
                                         Tel: (210) 758-2200


                                                 /s/
                                         ROBBIE WARD
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                           CERTIFICATE OF SERVICE

  I do hereby certify that a true and correct copy of the foregoing Notice of Appearance

was electronically filed with the Clerk of this Honorable Court using the CM/ECF system

which will send notification electronically to KIMBERLEY NIELSEN, Assistant United

States Attorney.

SIGNED on this the 18​TH​ day of FEBRUARY 2021.

                                                   /s/
                                           ROBBIE WARD
